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                       EXHIBIT H
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  IN THE SUPERIOR COURT OF THE
  STATE OF CALIFORNIA
  IN AND FOR THE COUNTY OF SANTA CLARA
  THE PEOPLE OF THE STATE OF CALIFORNIA,
                                       )
                                       )
                      PLAINTIFF,       )     REPORT OF
                                       )     PROBATION OFFICER
             vs.                       )     No.: C1894831
                                       )     March 14, 2019
  JOEL ORTIZ,                          )     E. West, D.A.
     AKA: None                         )     D. Dawson, P.D.
                      DEFENDANT,       )
                                       )
                                       )


                                   COURT DATA

  SENTENCING COURT: Honorable Edward F. Lee

   CHARGE:     Counts One, Thirteen, and Forty-Two, each Section
               530.5(a) of the Penal Code (Using Personal Identifying
               Information Without Authorization)

               Counts Two, Thirty-One, and Forty-Three, each Section
               502(c)(1)(A) of the Penal Code (Computer Crime -
               Altering and Damaging Computer Data With Intent to
               Defraud or Obtain Money or Other Value) (See
               Supplemental Information)

               Counts Tweleve, Thirty-Two, Thirty-Five, and Forty-
               Four, each Section 487(a) of the Penal Code (Grand
               Theft of Personal Property of a Value Over Nine Hundred
               and Fifty Dollars)

               (All) With Allegations of Sections 186.11(a)(1) and
               186.11(a)(2) of the Penal Code (Aggrevated Whilte
               Collar Crime - Adds 2, 3, 5 years)


   PRIORS:     None
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   PROBATION ELIGIBILITY:      Limited eligibility pursuant to Section
                               1203.045(a) of the Penal Code


   DATE OF OFFENSE: (Counts One and Two)

                        On or about and between February 12, 2018 and
                        March 19, 2019

                        (Counts Twelve and Thirteen)

                        On or about May 16, 2018

                        (Count Thirty-One)

                        On or about and between May 1, 2018 and May 30,
                        2018

                        (Count Thirty-Two)

                        On or about and between May 15, 2018 and May
                        30, 2018

                        (Count Thirty-Five)

                        On or about and between June 24, 2018 and July
                        24, 2018

                        (Counts Forty-Two, Forty-Three, and Forty-Four)

                        On or about May 2, 2018

   DATE OF ARREST:      July 12, 2018 (See Supplemental Information)


   CONVICTION:    Pled Nolo Contendere and admitted allegations on
                  January 24, 2019, pursuant to Section 859a of the
                  Penal Code.

   CONDITIONS:    10 years State Prison, Top; Harvey Stipulation as to
                  remaining Counts

   REMAINING CHARGES:      Counts Three, Five, Seven, Nine, Fifteen,
                           Seventeen, Nineteen, Twenty-One, Twenty-




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                           Three, Twenty-Five, Twenty-Seven, Thirty,
                           Thirty-Three, Thirty-Six, Thirty-Eight, and
                           Forty, all Section 530.5(a) of the Penal
                           Code; Counts Four, Six, Eight, Ten,
                           Fourteen, Sixteen, Eighteen, Twenty, Twenty-
                           Two, Twenty-Four, Twenty-Six, Twenty-Eight,
                           Thirty-Four, Thirty-Seven, Thirty-Nine, and
                           Forty-One, each Section 502(c)(1)(A) of the
                           Penal Code; Counts Eleven and Twenty-Nine,
                           each Section 487(a) of the Penal Code,
                           submitted for dismissal at the time of
                           Sentencing.

  DAYS IN CUSTODY: (Counts One, Two, Thirteen, Thirty-One, Forty-
                   Two, and Forty-Three)

                       246 actual days, 246 days – 4019 PC, 492 total
                       days; presently in custody.

                       (Counts Twelve, Thirty-Two, and Thirty-Five,
                       and Forty-Four)

                       0 actual days, 0 days – 4019 PC, 0 total days;
                       presently in custody. (Due to consecutive
                       Sentencing)

  AGE & DATE OF BIRTH:      21; February 20, 1998; Boston, Ma.

  CODEFENDANTS & STATUS:

  None

  SUPPLEMENTAL INFORMATION:

  The defendant is not eligible for sentencing pursuant to Section
  1170(h) of the Penal Code.

  (Date of Arrest)

  The defendant was arrested solely on an outstanding Warrant in
  the present matter on July 12, 2018, in Los Angles, California.
  He remained in custody there until he was transported to Santa
  Clara County Jail, where he was booked into custody on July 18,
  2018.




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  PROHIBITED PERSONS RELINQUISHMENT (PPR) INFORMATION:

  The form was completed on January 24, 2019 indicating the
  defendant does not own, possess, or have under his or her
  custody or control any firearms. A query of the Automated
  Firearms System (AFS) conducted on January 28, 2019 revealed
  there are no firearms registered to the defendant.

  SUMMARY OF OFFENSE:

  According to Regional Enforcement Allied Computer Team (REACT)
  task force case number 2018-0018, on February 12, 2018, victim
  Mitch Liu's cellular telephone (cell phone) ceased working. He
  telephoned his service provider, AT&T, and was told an
  individual, later identified as the defendant, entered an AT&T
  store, presented identification and a Social Security number,
  and obtained a new SIM card which allowed him to control victim
  Liu's cell phone. Further, the defendant reset the password and
  gained access to victim Liu's secondary Gmail accounts. Victim
  Liu was able to block the defendant's actions. He then
  contacted AT&T, and regained control of his cell phone.

  On March 19, 2018, victim Liu received a text message from AT&T
  indicating his account passcode had been changed. It was
  learned the defendant again gained access to the victim's two
  primary electronic mail (e-mail) accounts, which contained most
  of victim Liu's financial and personal indentifying information.
  The defendant changed passwords and took control of victim Liu's
  social media accounts, as well as the victim's 2 Factor
  Authenticator (2FA) security mechanism, and reset the passwords
  of victim Liu's cryptocurrency exchanges. In reviewing his
  accounts, victim Liu found the defendant stole approximately
  $10,000 in cryptocurrency.

  Victim Liu closed the existing AT&T account in his wife's name,
  through which his cell phone number had been obtained, and
  received a new cell phone number. On March 20, 2018, victim Liu
  answered an incoming call on his wife's cell phone, which
  originating from victim Liu's defunct cell phone number
  associated with the closed account. The caller, later
  identified as the defendant, who asked for victim Liu, was
  described as having a voice sounding "…like a voice changer…"
  was used to make the call. Victim Liu disconnected the call, as
  well as several subsequent calls made by the defendant. The
  defendant then sent victim's Liu's daughter a text message.
  According to the report, the victim's daughter responded to the



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  text message, "Hi Daddy love you." The defendant text back, "hi
  sammie love you TELL YOUR DAD TO GIVE US BITCOIN."
  Impersonating the victim, the defendant began direct messaging
  victim Liu's contacts in his social media accounts asking to
  borrow cryptocurrency.

  On May 5, 2018, a Search Warrant was obtained for the collection
  of information related to victim Liu's AT&T cell phone account.
  The resulting records revealed two International Mobile
  Equipment Identity (IMEI) numbers, were being used with victim
  Liu's cell phone. A subsequent internet search conducted by
  police indicated both IMEI numbers were related to Samsung
  Android cell phones. Investigators contacted victim Liu, who
  confirmed he had never used Samsung cell phones. Using mapping
  software, police plotted locations for calls placed on the
  victim's cell phone and determined on February 12, 2018, the
  defendant was using the victim's cell phone in Boston,
  Massachusetts.

  On May 22, 2018, a Search Warrant was obtained, directing
  Google, Incorporated to identify accounts associated with the
  defendant's devices based on the IMEI numbers as well as account
  content from November 12, 2017 through May 22, 2018. The
  results revealed three e-mail accounts associated with one or
  both of the numbers during the given time frame, one of which
  was a Gmail account frequently used by the defendant. The
  results of the search history provided by Google, indicated a
  search of victim Liu's name as well as references to
  Massachusetts.

  Further analysis of the Google data provided investigators
  indentifying information including an e-mail containing a
  photograph depicting the defendant holding a Massachusetts
  Identification Card (M.I.D), which also displayed his
  photograph, date of birth, and Boston address. Also found were
  e-mails from Coinbase regarding account activity in a Coinbase
  account identified by the defendant's e-mail address. Numerous
  e-mails were found which showed hundreds of thousands of dollars
  worth of cryptocurrency had been transferred into an accounted
  associated with the defendant's e-mail. Police located was an
  e-mail containing information on "SIM swapping…" an account
  takeover technique utilized in executing the offenses against
  victim Liu, as well as e-mails confirming purchase and/or lease
  of numerous domain names typically used for "phishing" purposes,
  and used to takeover accounts.




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  Police obtained a Search Warrant for information related to the
  defendant's known e-mail addresses associated with Coinbase and
  Bittrex. On June 16, 2018, police learned over $550,000 worth
  of various cryptocurrencies had filtered through the Bittrex
  account which at the time, was "…essentially empty." A response
  obtained from Binance provided account activity consisting of
  over $620,000 having been filtered through the associated with
  the defendant's Gmail account. At the time of the inquiry, the
  account was empty. Binance provided a customer due diligence
  image consisting of a photograph of a person who appeared to be
  the defendant, holding a United States passport bearing the
  defendant's name, date of birth, and Boston address.

  On June 18, 2018, officers received information from Coinbase
  related to an "@live.com" e-mail address linked to an account
  belonging to the defendant, with customer due diligence
  information consisting of a photograph of a person who appeared
  to be the defendant holding a M.I.D. card, also bearing his
  personal information. Investigators learned the account had
  sold more than $237,000 in Bitcoin, over $48,000 in Ether, and
  over $14,000 in Litecoin cryptocurrency since the opening of the
  account in November of 2014.

  Also located in the defendant's Gmail account, were e-mails
  linked to PayPal accounts. A Search Warrant for the PayPal
  accounts associated with the Gmail and "@live.com" e-mail
  addresses was obtained. On June 14, 2018 and June 18, 2018,
  officers received information from PayPal which revealed five
  accounts linked to the defendant, with customer due diligience
  consisting of a photograph of the M.I.D. with the defendant's
  information and a photograph of mail from PayPal, addressed to
  the defendant, at his Boston address. In what appeared to be
  the defendant's primary PayPal account, investigators located
  transactions consisting of several withdrawals to a bank account
  in the defendant's name, $59,000 in payments to Airbnb,
  approximately $72,000 in payments to "Stop N' Shop" at a
  different e-mail address, and "numerous other payments of
  thousands of dollars at a time…to varous individuals." Further
  revealed was a subsequent account with an e-mail address
  "@live.fr," used to purchase 14 SIM cards. It was also learned
  the "@live.com" address was linked to "Lon Frye" with an address
  in Texas and an associated address listed as the defendant's
  address. As a result of these findings, officers believed the
  defendant took control of victim Liu's cell phone, e-mail and
  social media accounts, and stole from him, approximately $10,000
  in cryptocurrency.



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  Investigators sent a request to AT&T, asking for any and all
  accounts connected to the IMEI numbers used to overtake victim
  Liu's cell phone, and learned approximately 40 AT&T customers
  had the IMEI numbers attached to their accounts from November
  19, 2017 through June 7, 2018. On June 21, 2018, police began
  calling the telephone numbers listed on each of the AT&T
  accounts to determine if the account holders had been
  victimized. According to the report, all of the victims' cell
  phones had been taken over by the defendant through a process
  termed "SIM swapping," wherein a customer service agent of a
  cell phone carrier, believes the legitimate account holder is
  contacting them, requsting a new SIM card to regain access to
  their lost mobile device. As a result, the newly issued SIM
  card allows the unauthorized user to impersonate the victim and
  utilize the victim's cell phone number to request changes to
  account settings.

  Police contacted victim Seth Shapiro, who stated on May 16,
  2018, he was at the Consensus NY Cryptocurrenty Conference
  (CNCC) in New York, when he lost cell phone service. He knew
  his information had been "hacked" as he heard of this having
  happened to others in the "cryptocurrency world." He went to a
  nearby AT&T store to restore his cell phone; however, the
  password to his e-mail account had been changed. He learned the
  defendant accessed his cryptocurrency accounts as result, and
  stole approximately 1200 Ethereum ($500,000 in cryptocurrency)
  from his Bittrex acount, and $400,000 from a Wax cryptocurrency
  account. Victim Shapiro stated he raised approximately $700,000
  to $1 million in cryptocurrency for a project he was
  undertaking, which was comingled with his personal
  cryptocurrency. He approximated a total loss of $1.7 million in
  cryptocurrency, $1 million of which consisted of his personal
  funds.

  Investigators spoke to victim Fiorenzi Villani, who stated while
  attending the CNCC in New York on May 14, 2018, he lost cell
  phone service, and knew his telephone had been "hacked." He
  went to a nearby AT&T store, where an employee advised the
  victim's SIM card had been switched to another cell phone.
  Victim Villani stated his Gmail account was compromised, which
  he believes the defendant gained access to by resetting the
  passwords using a 2FA password reset in combination with his
  cell phone number. Victim Villani denied experiencing financial
  loss.

  Victim Chris Kitze was interviewed by police and stated on March
  2, 2018, his cell phone was overtaken and his service ceased.


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  He received messages indicating his Yahoo and Gmail passwords
  had been changed, precluding him from accessing the accounts.
  Victim Kitze reported he was advised by an AT&T representative,
  an individual entered an AT&T store in Georgia and performed a
  "SIM swap." Victim Kitze eventually regained cell phone service
  and on May 14, 2018, while attending the CNCC in New York, he
  again lost cell phone service. He learned the defendant changed
  the passwords to his Twitter, Yahoo, and Gmail accounts and was
  again unable to access them. He reported he eventually regained
  access to his accounts and did not suffer any financial loss.

  Officers spoke to victim Mark Stickney, who reported on May 12,
  2018, his cell phone service ceased. He went to an AT&T store
  where he was informed an individual transferred his cell phone
  number to a different SIM card. The victim's Gmail account was
  compromised and his Twitter account was overtaken by the
  defendant by means of 2FA password reset. The defendant began
  direct messaging people related to the victim's
  Twitter account and attempted to sell the victim's Twitter
  username. Victim Stickney told police he was able to regain
  access to his accounts and did not suffer financial loss.

  Victim Jagdeep Sidhu was contacted by investigators and reported
  on May 15, 2018, his cell phone service stopped. He went to an
  AT&T retailer to obtain a new SIM card. His Gmail, Facebook,
  and Instagram accounts were overtaken by the defendant, causing
  the victim to lose access to said accounts. Victim Sidhu stated
  he had a Coinbase cryptocurrency account which the defendant
  accessed, but was unsure the amount of cryptocurrency available
  and did not believe it was worth the effort to pursue.

  Police contacted victim Jeromy Johnson, who advised on March 6,
  2018, his cell phone lost service. The following day he went to
  an AT&T store and "…got his phone number back;" however, the
  defendant took control of the victim's Facebook account and
  began direct messaging his Facebook contacts. One of the
  victim's friends, sent the defendant approximately 10 Bitcoin
  valued at approximately $100,000.

  Victim Tina Hui, told police on November 20, 2017, she logged
  out of her primary Gmail account. After attempts to log in to
  the account indicated she was using an incorrect password, she
  received notification she had changed her Gmail password four
  hours prior. Victim Hui requested her account password be reset
  and waited for a 2FA text message. When the victim did not
  receive a text message, she realized her cell did have service.
  She went to an AT&T store where an employee informed her someone


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   had gone into an Oakland store where a SIM swap occurred.
   Victim Hui advised the defendant accessed her Coinbase
   cryptocurrency account, as she received a message she had been
   logged out of the site. She sent an e-mail to Coinbase
   notifying them of the unauthorized access to her account.
   Victim Hui did not believe she sustained any loss of
   cryptocurrency.

   On July 10, 2018, an AT&T investigator provided police with call
   record details involving the IMEI numbers used to overtake the
   victims' cell phones. It was learned the majority of text
   messages to several victims originated from a telephone number
   used solely to send text messages, called a "short code" number.
   Officers were able to identify some of the companies responsible
   for sending the text messages; however, some short code
   telephone numbers were unidenifiable. Based on their training
   and experience, investigators believed these messages originated
   from autmated services frequently used for identity
   verification.

   During the time the defendant controlled several of the victims'
   cell telephones, all telephones received multiple text messages
   while no text messages were sent from the cell phones. Based on
   the volume of text messages the defendant received, the short
   time he controlled the victims' accounts, as well as the
   majority of text messages originating from short code numbers,
   officers deduced once he gained control of a victim's cell phone
   account, the defendant attempted to log into their other
   accounts. Police believed the defendant was able to do this
   either by receiving a 2FA text message from individual websites
   sent via text message to the AT&T account controlled by the
   defendant, or the specific website text a code allowing the
   defendant to reset the passwords on-line.

   Further investigation was conducted by police and on July 11,
   2018, a Warrant for the defendant's arrest was issued. On July
   12, 2018, REACT task force investigators and members of the Los
   Angeles Airport Police arrested the defendant at Los Angeles
   International Airport. He was taken to a nearby security office
   where his two carry-on bags and over $250,000 in cryptocurrency
   was seized.

   Police advised the defendant of his rights, which he stated he
   understood. The defendant told officers he had been in Los
   Angeles for approximately one month "partying" with friends. He
   said was an unemployed student entering his junior year at the
   University of Massachusetts-Boston, majoring in Information


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   Technology. He claimed he was an early investor in Bitcoin
   which was the source of his income; however, he refused to state
   the amount of cryptocurrency he possessed. He disclosed he
   stored his cryptocurrency on a Leger Nano hardware wallet.

   Officers told the defendant they were investigating
   cryptocurrency thefts in which he denied involvement saying,
   "…it was too difficult to do and he wasn't smart enough." He
   said he purchased "a lot" of SIM cards which he resold. Police
   then accused the defendant of being responsible for the thefts
   and he replied, "I want to help you…I was lying before."

   The defendant advised in October of 2017, he had a Verizon Droid
   cell phone and was asked by a friend to contact Verizon and
   place a SIM card in a Verizon compatible cell phone for the
   purpose of stealing money. His friend provided him with a
   "PIN," which officers believed was the PIN number required to
   access a victim's cell phone account. The defendant denied
   having received any payment for this transaction. According to
   the report, police believed this began the defendant's
   involvment in the present offenses; however, the defendant
   invoked his right to remain silent prior to police clarify this
   information.

   The report next indicates police asked the defendant for the PIN
   code for his iPhone, which he refused to provide. He gave
   officers the passcode for his Ledger Nano wallet which contained
   approximately $200,000 in DASH, $50,000 in NEO, and $19,000 in
   GAS cryptocurrencies. He told investigators this was what
   remained from the cryptocurrency thefts subsequent to his having
   spent a portion of the funds as well as the significant
   depreciation of its value. According to the report, the
   defendant's primary role in the commission of the thefts was to
   possess cell phones, obtain SIM cards, and provide the card
   numbers to "someone else" for the overtaking of victims' cell
   phones. Police learned the defendant's co-conspirators had
   contacts who could access tools used by employees of cell phone
   service providers, to conduct the SIM swap. Once the swap was
   completed, the defendant received a 2FA text message code on his
   cell phone which he gave to others for the purpose of "hacking"
   into victims' accounts. The total amount of cryptocurrency
   stolen was evenly distributed amongst all involved in the SIM
   swap. The defendant reported the highest earning SIM swap in
   which he was involved, occurred approximately 3 to 4 months
   prior and yielded him $1 million after he and co-conspirators
   stole $5 million in "Tether" cryptocurrency from a single
   person. The "Tether" was later frozen, and he and his co-


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   conspirators ultimately stole $2 to $3 million in
   cryptocurrency.

   The defendant reported he committed these offenses approximately
   one time per day and estimated a success rate of 1 in 50
   attempts made. He participated in the scheme because it was
   "easy money;" however, he had recently contemplated ending his
   participation, saying he was feeling badly about stealing money
   from others, and acknowledged the similiarities between a
   residential burglary and theft of cryptocurrency and believed
   they should be punished similarly.

   The defendant refused to provide passwords to his iPhone and
   MacBook computer. The defendant asked to speak to a lawyer, and
   investigators ceased their questioning.

   On August 27, 2018, REACT investigators were contacted by a
   United States Secret Service Agent regarding a SIM swapping case
   related to victim Basu Saswata, who resided in Cupertino. REACT
   officers telephoned victim Saswata, who said on May 2, 2018, an
   unknown individual was able to control his AT&T cell phone
   account via SIM swap. Shortly afterward, his Yahoo and Gmail
   addresses were accessed without authorization. The victim's
   Gmail account contained specific information related to accessed
   his cryptocurrency wallets. The wallets were then accesses by
   an unauthorized user during which 9000 DASH (approximately $4.4
   million USD) and 1287 ETH coins (approximately $867,000 USD)
   were stolen. A portion of the stolen DASH was traced to a
   Binance deposit address and Ledger Nano S wallet address
   belonging to the defendant. Police also analyzed chat log data
   in which the defendant discussed the theft.

   On August 27, 2018, victim Saswata's cell phone number was given
   to an AT&T investigator, who informed police the IMEI number,
   unique to the victim's telephone, had been used illegally to
   access cell phone numbers in California, Nevada, Washington
   State, and New York.

   Further investigation into stolen DASH, led officers to Binance
   cryptocurrency exchange associated with the defendant's Gmail
   account. They learned on on May 2, 2018, victim Saswata
   incurred a loss of approximately $4,355,021, while the defendant
   received a deposit into his Binance account of approximately
   $372,246. Police also reviewed chat information obtained from
   the Bureau of Homeland Security, and located several chats
   linking the defendant to the theft, including conversations
   wherein the defendant detailed the laundering of the stolen


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   cryptocurrency, after the theft occurred. Based on this
   information, police believed the defendant was responsible for
   the SIM swapping of victim Saswata's cell phone and subsequent
   theft of his cryptocurrency.

   VICTIM’S STATEMENT:

   Correspondence has been sent to the victim(s) in this case
   advising of the date, time, and place of sentencing, the right
   to be present and to be heard pursuant to Section 1191.1 and
   1191.2 of the Penal Code, as well as requesting information
   regarding any losses suffered.

   (Counts One and Two; Counts Three, Five, Seven, Nine, and Eleven
   – Harvey Stipulation)

   On March 1, 2019, this Officer left a voicemail message for
   victim Mitch Liu, requesting a return call. This Officer then
   sent him an e-mail requesting contact as well. As of the
   writing of this report, a response was not received. On March
   6, 2019, this Officer received information from DDA West,
   indicating a loss sustained by this victim in the amount of
   $10,000. A CR-110 in said amount is attached for the Court’s
   consideration.

   (Counts Twelve and Thirteen; Count Fifteen - Harvey Stipulation)

   On February 28, 2019, this Officer spoke to victim Shapiro who
   declined to provide a verbal statement of loss, saying he would
   submit a written statement via e-mail.

   On March 5, 2019, this Officer received an e-mail from victim
   Shapiro, which included a statement regarding impact and loss as
   well as other documentation, which has been reviewed and
   considered by this Officer. Said information is also attached
   for the Court’s review. In his statement, the victim asserted a
   loss of various forms of cryptocurrency totaling $1,757,259.33,
   which is in-line with DDA West’s estimate of loss incurred as
   more than $1.7 million; however, based on travel costs related
   to the offense, as well as legal and investigative fees
   sustained, victim Shapiro listed a total loss of $1,807,309.33,
   for which a CR-110 is attached for the Court’s consideration.

   The victim explained he is a 54 year-old husband and father of
   two. He is an Adjunct Professor in Cinematic Arts, an author,
   and has won two Emmy awards for his work in entertainment
   technology. He stated he had an “…unfathomable amount of


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   personally identifiable information…taken from me, including
   thousands of e-mails, my family’s passport information, and
   other business and family information.” He explained the
   impact of the offense on his life has been “…horrific…” and “In
   addition to destroying my life and stealing thirty-years of
   retirement savings [the defendant] and his co-conspirators have
   decimated the lives of my family members and close
   friends…people lost their jobs as a direct result of this
   massive theft. One business was destroyed and a second faces
   layoffs.”

   The victim indicated the currency stolen from his on-line
   account “…was most of my life savings and investment assets…the
   money I used to pay my rent, my children’s tuition, and my
   family’s health insurance…[and is]…in desperate and immediate
   need of the expected returns and proceeds…” to care for himself
   and his family.

   The victim asserted he has been experiencing extreme depression,
   anxiety, loss of sleep, and trouble concentrating on issues
   other than financial. He claimed, “Despite the passage of time,
   my fear and anxiety have remained because the attacks have
   continued and my information is irretrievable from the
   criminals…” He expressed concern that even with the return of
   the currency stolen, his personal and professional information
   “…is lost to the dark web forever. I may never know the extent
   to which my digital presence has been compromised.”

   The victim added, “It’s unfortunate that [the defendant] chose
   to use his exceptional skills in both computer science and
   social engineering to exploit and steal from others, rather than
   to aid in the ongoing societal efforts to improve the flaws in
   our increasingly technological society…I believe [the defendant
   and co-conspirators] could have helped technologists and service
   providers address some of the most glaring cybersecurity
   weaknesses and procedural failures…If [the defendant] is willing
   to help me and other victims [of SIM crimes] solve this problem,
   I would be willing to work with him, or find someone who will
   work with him on solving such vulnerabilities.”

   (Count Seventeen – Harvey Stipulation)

   The police report does not list contact information for victim
   Fiorenzi Villani. On February 28, 2019, this Officer confirmed
   with DDA West, she did not have alternate contact information
   for this victim. According to the police report, victim Villani
   denied having incurred any loss.


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   (Count Nineteen – Harvey Stipulation)

   On March 1, 2019, this Officer left a voicemail message for
   victim Chris Kitze, requesting a return call. This Officer then
   sent him an e-mail requesting contact as well. As of the
   writing of this report, a response was not received.

   (Count Twenty-One – Harvey Stipulation)

   On March 1, 2019, this Officer left a voicemail message for
   victim Mark Stickney, requesting a return call. This Officer
   then sent him an e-mail requesting contact as well. As of the
   writing of this report, a response was not received.

   (Count Twenty-Three – Harvey Stipulation)

   On March 1, 2019, this Officer left a voicemail message for
   victim Jagdeep Sidhu, requesting a return call. This Officer
   then sent him an e-mail requesting contact as well. As of the
   writing of this report, a response was not received.

   (Count Twenty-Five – Harvey Stipulation)

   On March 1, 2019, this Officer spoke to victim Jeromy Johnson,
   who stated he did not incur any loss, though the rectifying of
   his accounts was time consuming. He stated the defendant’s
   impersonation of him and the resulting transfer of
   cryptocurrency his friend sent to the victim’s on-line account,
   caused the dissolution of their friendship.

   (Count Twenty-Seven – Harvey Stipulation)

   On March 1, 2019, this Officer spoke to victim Tina Hui who
   asked for time to reflect on the matter and prepare a written
   statement regarding impact as the offense occurred in 2017.
   This Officer provided her with the undersigned’s e-mail address
   for submission of the statement. As of the writing of this
   report, a response was not received.

   (Counts Twenty-Nine and Thirty – Harvey Stipulation)

   On March 1, 2019, this Officer telephoned victim Shaun Newsum;
   however, the call went unanswered and his voicemail system was
   full. This Officer then sent him an e-mail requesting contact.
   As of the writing of this report, a response was not received.




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   (Count Thirty-Two; Count Thirty-Three – Harvey Stipulation)

   On March 1, 2019, this Officer spoke to victim Darren Marble,
   who stated he would be present at today’s Hearing. He said he
   needed time to review his records to determine the loss he
   incurred and would either submit the information to this Officer
   in writing or present it at today’s Hearing. This Officer sent
   the victim an e-mail to provide a method for his written
   submission in the event he chose not to address the Court in
   person. As of the writing of this report, a response was not
   received. On March 6, 2019, this Officer received information
   from DDA West, indicating a loss suffered by victim Marble, was
   determined to be $100,000 for which a CR-110 is attached for the
   Court’s consideration.

   (Count Thirty-Five; Count Thirty-Six – Harvey Stipulation)

   On March 6, 2019, this Officer received information from DDA
   West, indicating an estimated loss experienced by victim Elias
   Chivandro, as between $25,000 and $200,000. On March 1, 2019,
   this Officer spoke to victim Elias Chivandro, who advised the
   balance of his cryptocurrency account consisting of $285,000,
   was emptied within three transfers and in 2.5 hours. Due to the
   offense having occurred on a Sunday, he was away from his
   telephone for longer than usual and did not realize his service
   had been lost. As a result, the defendant changed the passwords
   of his cryptocurrency account and he can no longer access it.
   The victim said he worked very hard to earn the balance of the
   account and lost it all in one day’s time.

   Victim Chivandro believed the defendant to be older than his
   actual age and expressed surprise and discontentment over the
   defendant being “…so talented…” and using his knowledge to
   engage in criminal conduct. He requested restitution in the
   amount of $285,000, for which a CR-110 is attached for the
   Court’s review.

   (Count Thirty-Eight – Harvey Stipulation)

   On March 1, 2019, this Officer telephoned victim Oskar Duris, at
   the number listed in the police report; however, the call went
   unanswered and a voicemail system was not available. This
   Officer then sent the victim an e-mail requesting a response to
   discuss the offense. As of the writing of this report, a
   response was not received.




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   (Count Forty – Harvey Stipulation)

   On March 1, 2019, this Officer telephoned victim Brad Yasar, at
   the number listed in the police report; however, the call went
   unanswered and a voicemail system was not available. This
   Officer then sent the victim an e-mail requesting a response to
   discuss the offense. As of the writing of this report, a
   response was not received.

   (Counts Forty-Two, Forty-Three, and Forty-Four)

   On March 1, 2019, this Officer spoke to victim Saswata Basu, who
   stated he incurred a loss of $5.4 million as a result of the
   offense. He said he is a business owner at which “a
   decentralized cloud,” information storage, and “a security
   wallet” are developed and sold. Due to the theft from his
   account, he was unable to hire salespeople or developers to
   further his business. After consulting with his attorney, the
   victim learned the deprivation of this funding translated in a
   potential loss of revenue for his business, 9 to 10 times the
   actual amount stolen.

   The victim said, “…it’s inconceivable the perpetrator would walk
   away with that much money and only do 10 years…” He viewed the
   potential of the defendant serving 10 years in State Prison as a
   “…small amount of time to serve…” given he has not disclosed the
   location of all of the funds stolen. Victim Basu was certain,
   based on other cases of which he was aware, the defendant could
   serve approximately 3 years of a 10 year Sentence, get out of
   custody, and access potentially millions of dollars through the
   accounts he refused to disclose. He alleged he became aware of
   new information obtained by a prosecutor in Florida, of lengthy
   chat records involving the defendant and implicating him in
   additional criminal activity. He asked why this matter had not
   been considered in the present offense, which he believed could
   have added “…charges and time…” to the defendant’s Sentence or
   “…put pressure…” on the defendant to elicit the location of
   additional funds.

   Victim Basu was upset he and the other victims were not
   consulted prior to the defendant being offered the present Plea
   Conditions and were not given access to the DDA’s Discovery,
   which he and the other victims would have been able to decipher
   and interpret. He stated it is necessary for him to spend money
   to hire a lawyer to “fight” the circumstances of this matter but
   he cannot afford to hire a lawyer considering the loss he
   incurred. Victim Basu believes he was twice victimized, once by


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   the “hacking” of his accounts and the second in “…not being a
   voice to the DA’s Office.”

   Victim Basu remained steadfast in his belief the defendant could
   have been charged with additional offenses and could have been
   made to divulge the location of remaining cryptocurrency. On
   March 6, 2019, DDA West provided an estimate of loss suffered by
   victim Basu as nearly $5.3 million; however, in this Officer’s
   discussion with the victim, he reported a loss of $5.4 million,
   for which a CR-110 is attached for the Court’s review.

   DEFENDANT’S STATEMENT:

   On February 28, 2019, this Officer interviewed the defendant via
   videoconference at Elmwood Correctional Facility in the presence
   of his attorney, Deputy Public Defender Dawson. While the
   defendant declined to provide a statement regarding the offense,
   he agreed to provide the following social data.

   The defendant is 21 years-old, was born in Boston, and denied
   knowing his father’s identity. He denied family histories
   involving domestic violence, or sexual, physical, or emotional
   abuse.

   The defendant resides with his mother, has never been married,
   and has no children. The defendant received special education
   services during his youth as a result of developmental delays
   and issues related to a diagnosis of Autism Spectrum Disorder.
   Despite this, the defendant performed very well in high school
   and was valedictorian of his graduating class. During high
   school, he took part in different mentoring/leadership programs
   and ultimately earned a full scholarship to the University of
   Massachusetts, Boston. He was entering his junior year at the
   time of his arrest in the instant offense and was majoring in
   Information Technology.

   The defendant’s most recent and longest duration of employment
   occurred during the summer of 2016, when he was employed as a
   care provider at Child Center, a daycare facility in Boston.
   His employment ended as the position was seasonal work.

   With regard to drug and alcohol histories, the defendant denied
   a family history involving substance abuse. In discussing his
   personal history of controlled substance use, he admitted having
   ingested alcohol and marijuana first at age 20 and approximated
   his use as once per week. He denied experimentation with any
   other substances. Concerning mental health histories, he denied


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   an existence in his family and considered his having been
   diagnosed with Autism, as a mental health disorder. He also
   expressed being depressed since being booked into County Jail;
   however, he has not sought treatment. He denied having any
   present health issues or taking any medication to treat an
   illness.

   In discussing the possible disposition of this matter, the
   defendant said he is accepting of whatever the Court deems
   appropriate. He apologized for all hardships he caused the
   victims saying he made a huge mistake and acknowledged he will
   likely be making restitution payments for the remainder of his
   life. In considering long-term plans, the defendant said he
   hopes to return to school after his release from custody and
   obtained a “good job” in order to be able to repay the victims.

   INTERESTED PARTIES:

   DPD Dawson provided a report, compiled by Dr. Leonard J. Donk,
   Ph.D., dated October 10, 2018, regarding the. On March 7, 2019,
   DPD Dawson asked this Officer to have the evaluation attached
   for the Court’s consideration. Dr. Donk’s concluding diagnoses
   consisted of the following:

      •   Autism Spectrum Disorder…Without Accompanying Intellectual
          Impairment, With Previous Language Impairment, Largely No
          Longer Impaired or Very Little Impairment;
      •   Major Depressive Disorder…Currently Severe, Without
          Psychotic Features;
      •   Adjustment Disorder, With Anxiety, Moderately Severe and
          Severe;
      •   Bipolar 1 Disorder, Most Recent Episode Manic, Severe (Rule
          Out);
      •   Depressive Personality Disorder;
      •   Self-Defeating Personality Disorder (Masochistic), with
          Schizoid and Avoidant Personality Traits.

   The entirety of Dr. Donk’s report has been reviewed and
   considered by this Officer and is attached for the Court’s
   review.

   Also submitted by DPD Dawson, are two character letters written
   by individuals who counseled the defendant during his
   participation in high school mentoring programs. Both letters


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   have been reviewed and considered by this Officer and are
   attached for the Court’s review.

   RESULTS OF ASSESSMENT:

      •   CAIS

   As the defendant did not provide a statement regarding the
   offense, the CAIS Assessment was not utilized.

   JUDICIAL COUNCIL RULES 4.414, 4.421, 4.423: Attached

   CASE EVALUATION:

   Appearing before the Court is 21 year-old Joel Ortiz, having
   entered a Nolo Contendere Plea to three Counts of Section
   530.5(a) of the Penal Code, three Counts of Section 502(c)(1)(a)
   of the Penal Code, and Four Counts of Section 487(a) of the
   Penal Code. He also admitted an allegation of Section
   186.11(a)(2) of the Penal Code and entered a Harvey Stipulation
   to all remaining Counts.

   Between 2017 and 2018, the defendant engaged in SIM swapping,
   allowing him to use a 2FA process to overtake and change
   victims’ passwords and hack into their social media, e-mail, and
   cryptocurrency accounts. Police learned he filtered millions of
   dollars through a variety of fraudulent on-line accounts,
   through e-mail addresses, and with the use of illicit software.

   As of the writing of this report, this Officer had not received
   responses from victims Villani, Kitze, Stickney, Sidhu, Newsum,
   Duris, or Yasar. This Officer spoke to victim Hui and is
   awaiting documentation she stated she would consider submitting.
   In speaking to victim Johnson, this Officer learned he is
   denying have experienced any loss.

   Victim Marble did not provide this Officer with a specific
   request for restitution; however, he reported he would attend
   today’s Hearing. According to information provided by DDA West,
   victim Marble experienced a loss of $100,000. While this
   Officer did not receive a response from victim Liu, DDA West
   likewise provided information indicating victim Liu experienced
   a $10,000 loss.


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   Victim Shapiro reported a loss of $1,807,309.44 and expressed
   the theft has caused great financial and mental difficulty for
   him and his family, as the funds taken were used to support his
   family and plan for his retirement.

   Victim Chivandro stated he worked very hard to earn the $285,000
   he put in his cryptocurrency account which was lost in three
   transactions over 2.5 hours. He was astonished to learn how
   young the defendant is and commented he was “…so talented…” and
   wasted his talent by engaging in criminal activity.

   Victim Basu stated he lost $5.4 million USD from his
   cryptocurrency account which he believed transferred into 9 to
   10 times that in lost revenue for his business. He said it is
   “…inconceivable…” the defendant could steal this amount of money
   and face the potential of “…a small amount of time…” in custody.
   Based on reports he had seen on-line or on the news, he is
   concerned the defendant will serve a significantly less time
   incarcerated and be released from Prison only to access hidden
   cryptocurrency accounts he refused to disclose when he was
   arrested. Victim Basu said he felt victimized by having his
   accounts hacked and again by feeling unheard by the District
   Attorney’s Office.

   The defendant stated he received special education services in
   his youth and was diagnosed with Autism Spectrum Disorder;
   however, he was entering his junior year at the University of
   Massachusetts – Boston, on a full scholarship, studying
   Information Technology. He apologized for the impact his
   conduct has had on the victims and hoped he could later re-
   enroll in college and get a “good job” to afford him the ability
   to repay the victims. He realizes it may take the better part
   of his life to pay-off the restitution he owes.

   The defendant lacks a prior criminal history.

   The defendant is limited in Probation eligibility pursuant to
   Section 1203.045(a) of the Penal Code. In consideration of
   Judicial Council Rules (JCR’s) 4.421 and 4.423, Circumstances in
   Aggravation and Mitigation, Aggravators outnumber Mitigators 4
   to 2 and include the callousness of the offense, the defendant
   benefiting from concurrent Sentencing when consecutive


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   Sentencing could have been imposed, the planning and
   sophistication involved in the carrying out of the offense, and
   the offense involving the taking of a significant amount of
   money. The Mitigating factors include the defendant’s lack of a
   prior criminal history, and his acknowledgment of wrongdoing at
   the early stage of the criminal process.

   Reviewing JCR’s 4.414 Criteria Affecting Probation, the
   Favorable and Unfavorable factors are equally represented. The
   factors which favor the granting of Probation include the
   absence of a weapon in the defendant’s commission of the
   offense, his lack of a prior criminal record, and his ability to
   comply with reasonable terms of Probation. Also Favorable to
   the granting of Probation, is the likely effect of imprisonment
   on the defendant considering his age and lack of prior
   confinement history in addition to his remorsefulness and
   acknowledgment of wrongdoing.

   Conversely, the Unfavorable factors include the seriousness and
   circumstances of the instant offense as compared to similar
   crimes, the financial and emotional injury inflicted on the
   victims, the degree of monetary loss experienced by the victims,
   the defendant’s active participation in the offense, and the
   degree of sophistication demonstrated by the defendant in
   committing the offense.

   In as much as the defendant’s Probation eligibility is limited,
   and factors in favor of and against the granting of Probation
   are equally represented, consideration was given to JCR 4.413.
   Given the defendant’s youthfulness (some of the Counts occurred
   when he 19 years of age) and his lack of prior criminal history,
   he appears to overcome his Probation limitation pursuant to JCR
   4.413(c)(2)(1). To this degree, his lack of prior involvement
   in a criminal lifestyle or previous commitment to State Prison,
   coupled with his diagnosis of Autism Spectrum Disorder, and the
   victims naturally wanting to receive repayment for their loss,
   justice does not appear to be served in confining the defendant
   to State Prison. Alternatively, in considering JCR’s 4.421 and
   4.423, where Aggravators outweigh Mitigators, justice also does
   not appear served in the defendant avoiding custody time as a
   consequence of his conduct.

   As a result, it is recommended the defendant serve one year
   County Jail as to Counts One, Twelve, Thirty-Two, Thirty-Five,
   and Forty-Four, consecutive to each other, for a total term of 5


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   years County Jail. It is further recommended the defendant be
   granted 5 years Formal Probation to include psychological
   counseling conditions, seeking and maintaining treatment with a
   psychologist and/or psychiatrist trained to address his multiple
   diagnoses, and attending school full-time or seeking and
   maintaining gainful employment. It is also recommended he be
   Ordered to adhere to full electronic search conditions. A
   natural consequence of the defendant’s criminal conduct is he
   will very likely never be employed in his chosen field. As
   such, it is hoped he will spend this time considering other
   subjects of study as possible career paths upon his release from
   custody. It is also hoped he will diligently apply himself
   toward attaining employment immediately after his release in
   order to begin the process of making the victims whole again.




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   RECOMMENDATION:

    1.   Imposition of sentence be suspended. Formal Probation be
         granted for five years.

    2.   The defendant is ordered to go to the Probation Department
         within two (2) business days of release and thereafter as
         directed by the Probation Department. If during your term
         of probation you are deported, you must notify the
         Probation Department of your deportation within 5 days.
         While out of the country you must notify the Probation
         Department by whatever means of communication are available
         to you of your location or residence. If you return to the
         United States, you must report your re-entry to this
         country to the Probation Department within 5 days of your
         return, and report in person to the Probation Department as
         directed.

    3.   The defendant is ordered to report to the Department of Tax
         and Collections within 30 days for the completion of a
         payment plan for fines and fees.

    4.   A County Jail sentence as to Counts One, Twelve, Thirty-
         Two, Thirty-Five, and Forty-Four of one year each
         consecutive to each other be imposed. The defendant be
         granted credits.

    5.   Restitution as determined by the Court.

    6.   Restitution as determined by the Court, including but not
         limited to $10,000 to Mitch Liu.

    7.   Restitution as determined by the Court, including but not
         limited to $1,807,309.33 to Seth Shapiro.

    8.   Restitution as determined by the Court, including but not
         limited to $100,000 to Darren Marble.

    9.   Restitution as determined by the Court, including but not
         limited to $285,000 to Elias Chivandro.

   10.   Restitution as determined by the Court, including but not
         limited to $5,400,000 to Saswata Basu.


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   11.   The defendant shall submit his/her person, place of
         residence, vehicle and any property under his/her control
         to search at any time with or without a warrant by any
         Peace Officer or any law enforcement agency.

   12.   The defendant shall as a condition of probation or
         mandatory supervision, give specific consent as that term
         is defined in Penal Code Section 1546 to any Peace Officer
         or any law enforcement agency to seize and search all
         electronic devices (including but not limited to cellular
         telephones, computers or notepads) in his/her possession or
         under his/her control to a search of any text messages,
         voicemail messages, call logs, photographs, e-mail
         accounts, social media accounts (including but not limited
         to Facebook, Instagram, Twitter, Snapchat or any other site
         which the Probation Officer informs him/her of), and/or
         applications ("apps") pertaining to said accounts at any
         time with or without a warrant.

   13.   The defendant shall further agree and specifically consent
         to provide all passwords necessary to access or search such
         electronic devices (including but not limited to cellular
         telephones, computers or notepads) and understand that
         refusal to provide the password will constitute a violation
         of the terms of his/her probation or mandatory supervision.

   14.   The defendant's computer and all other electronic devices
         (including but not limited to cellular telephones, laptop
         computers or notepads) shall be subject to Forensic
         Analysis search by any Peace Officer or any law enforcement
         agency at any time with or without a warrant.

   15.   The defendant shall not knowingly enter any social
         networking sites, (including but not limited to Facebook,
         Instagram, Twitter, Snapchat or any other site which the
         Probation Officer informs him/her of), and/or applications
         ("apps") pertaining to said accounts nor post any ads,
         either electronic or written, unless approved by the
         Probation Officer.

   16.   The defendant shall report all personal e-mail addresses
         used and shall report websites with passwords to the
         Probation Officer within 5 days.




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   17.   The defendant shall not knowingly access the Internet or
         any other on-line service through use of a computer, or
         other electronic device at any location (including place of
         employment) without prior approval of the Probation
         Officer. The defendant shall not knowingly possess or use
         any data encryption technique program.

   18.   The defendant shall not clean or delete Internet browsing
         activity and must keep a minimum of four weeks of history.

   19.   The defendant shall attend, actively participate in, and
         successfully complete a psychological treatment program as
         directed by the Probation Officer.

   20.   The defendant shall cooperate with psychological and/or
         psychiatric treatment.

   21.   The defendant shall seek and maintain gainful employment
         and/or maintain academic and/or vocational training as
         directed by the Probation Officer.

   22.   The defendant shall not have a checking account during the
         term of probation.

   23.   The defendant shall not knowingly have contact with the
         victim(s).

   24.   The defendant shall not own, knowingly possess, or have
         within his/her custody or control any firearm or ammunition
         for the rest of his/her life pursuant to Section 29800 and
         Section 30305 of the Penal Code.

   25.   A Restitution Fine of between $300 and $10,000 and a 10%
         Administrative Fee be imposed pursuant to Section 1202.4 of
         the Penal Code.

   26.   An additional Probation Revocation Restitution Fine equal
         to that imposed under Penal Code Section 1202.4 be imposed
         and suspended pursuant to Section 1202.44 of the Penal
         Code.




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   27.   The defendant be ordered to supply buccal swab samples,
         prints, blood specimens, and/or other biological samples
         pursuant to Section 296 of the Penal Code.

   28.   A $10.00 fine plus penalty assessment be imposed pursuant
         to Section 1202.5 of the Penal Code.

   In addition to the above orders of probation, the Court hereby
   orders the following fees, which are not conditions of
   probation, however, are separately due to the Department of Tax
   and Collections during the period of probation. The failure to
   pay such fees will result in civil collection and potential loss
   of the California Driver’s License.

   29.   A Court Security Fee of $400.00 be imposed pursuant to
         Section 1465.8 of the Penal Code.

   30.   A Criminal Conviction Assessment of $300.00 be imposed
         pursuant to Section 70373 of the Government Code.

   31.   A $259.50 Criminal Justice Administration fee to the
         County of Santa Clara be imposed pursuant to Government
         Code 29550, 29550.1 and 29550.2.

   32.   A Presentence Investigation Fee not to exceed $450.00 be
         imposed pursuant to Section 1203.1b of the Penal Code.




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   33.   A Supervision Fee not to exceed $110.00 per month be
         imposed pursuant to Section 1203.1b of the Penal Code.

   NOTE: Attorney fees if appropriate.


                                        Respectfully submitted,

                                        Laura Garnette
                                        Chief Probation Officer



                                        Juli Gagnon
                                        Deputy Probation Officer
                                        408-435-2218
   JKG/jkg
   Attachments

   Reviewed by:


   ______________________________
   Judith Marshall
   Supervising Probation Officer
   408-435-2140

   The above report has been read and considered by the Court.


                                        ______________________________
                                        EDWARD F. LEE
                                        Judge of the Superior Court
                                        Santa Clara County, California




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